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   Sacramento, CA 95814
 3 Telephone: (916) 447-0160

 4
   Attorney for:
 5 Sesar Prado

 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                           CASE NO. 2:14-cr-00303-GEB-1
10
                                   Plaintiff,            STIPULATION TO CONTINUE J&S TO
11                                                       MAY 25, 2018 AT 9:00 A.M. AND RESET
                            v.                           BRIEFING SCHEDULE
12
     SESAR PRADO,
13                                 Defendant

14
                                                 STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, and Defendants Jesus
16
     Esquivel-Cornejo, by and through his Counsel of record, Dina Santos hereby stipulate to continue the
17
     date for J&S and reset the briefing schedule as follows:
18
            Judgment and Sentencing Date: May 25, 2018
19
            Reply, or Statement of Non-Opposition: May 18, 2018
20
            Motion for Correction of the Presentence Report shall be filed with the Court and served on the
21
            Probation Officer and opposing counsel no later than: May 11, 2018
22
            The Presentence Report shall be filed with the Court and disclosed to counsel no later than: May
23
            4, 2018
24
            Counsel's written objections to the Presentence Report shall be delivered to the Probation Officer
25
            and opposing counsel no later than: April 27, 2018
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            The proposed Presentence Report shall be disclosed to counsel no later than: April 13, 2018
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 2         IT IS SO STIPULATED.

 3

 4 Dated: February 21, 2018                       McGregor Scott
                                                  United States Attorney
 5

 6                                                /s/ Jason Hitt
                                                  JASON HITT
 7                                                Assistant United States Attorney

 8
     Dated: February 21, 2018                     /s/ Dina L. Santos
 9                                                DINA SANTOS, ESQ.
                                                  Attorney for SESAR PRADO
10

11
                                           ORDER
12
           IT IS SO FOUND AND ORDERED.
13
     Dated: February 26, 2018
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